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     No. 21-88 (L)      21-96 (XAP), 21-114 (XAP)

              United States Court of Appeals
                                     for the
                            Second Circuit
CASEY CUNNINGHAM, CHARLES E. LANCE, STANLEY T. MARCUS, LYDIA PETTIS, and
 JOY VERONNEAU, individually and as representatives of a class of participants and
  beneficiaries of the Cornell University Retirement Plan for the Employees of the
Endowed Colleges at Ithaca & the Cornell University Tax Deferred Annuity Plan,
                                               Plaintiffs-Appellants-Cross-Appellees,
                                      – v. –
     CORNELL UNIVERSITY, THE RETIREMENT PLAN OVERSIGHT COMMITTEE,
       MARY G. OPPERMAN, and CAPFINANCIAL PARTNERS, LLC D/B/A
                   CAPTRUST FINANCIAL ADVISORS,
                                          Defendants-Appellees-Cross-Appellants.

On Appeal from the United States District Court for the Southern District of New
                 York, Hon. P. Kevin Castel, No. 16-cv-6525

            REPLY BRIEF OF THE CORNELL DEFENDANTS

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                           CITATION FORMAT

Abbreviation                               Description

     A_        Plaintiffs-Appellants’ Appendix

Cornell Br._   Principal & Response Brief of the Cornell Defendants

  Pls. Br._    Plaintiffs-Appellants’ Principal Brief

 Pls. Resp._   Plaintiffs-Appellants’ Reply & Cross-Appellees’ Response Brief




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                                  INTRODUCTION
      As the Supreme Court has made clear, claims seeking “make whole”

monetary relief for breach of fiduciary duty are quintessentially equitable; the fact

that the relief “takes the form of a money payment does not remove it from the

category of traditional equitable relief.” CIGNA Corp. v. Amara, 563 U.S. 421, 441

(2011). Indeed, “prior to the merger of law and equity, this kind of monetary remedy

against a trustee, sometimes called a ‘surcharge,’ was ‘exclusively equitable.’” Id. at

442 (emphasis added). The vast majority of courts to address the question in recent

years have concluded that plaintiffs do not have a Seventh Amendment right to a

jury trial for such claims. Cornell Br.66-67.

      Plaintiffs’ attempt to demonstrate an entitlement to a jury trial

notwithstanding Amara misreads Supreme Court authority and rests on meaningless

distinctions. Because the district court properly granted summary judgment to

Cornell, a decision this Court should affirm in all respects, this Court need not

address Plaintiffs’ mistaken arguments. If the Court concludes, however, that there

are genuine issues of material fact requiring a trial on any claim, it should reverse

the district court’s denial of Cornell’s motion to strike the jury demand and require

Plaintiffs to proceed with a bench trial on any such claim. 1


1
  As previously noted, Cornell Br.63 n.22, plaintiffs in the NYU case raised this issue in
their then-pending appeal before this Court. The Court did not address the merits in that
appeal, concluding that plaintiffs had waived any objection to a bench trial. Sacerdote v.

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                                    ARGUMENT
       The parties agree that the jury trial question is governed by a two-step test that

asks (1) whether the action would have been considered legal or equitable in 18th

century England, and (2) whether the remedy sought is legal or equitable in nature.

Cornell Br.63-64; Pls. Resp.53.

       Plaintiffs do not dispute that historically such actions were “within the

exclusive jurisdiction of courts of equity.” Cornell Br.63 (quoting Chauffeurs,

Teamsters & Helpers Local No. 391 v. Terry, 494 U.S. 558, 567 (1990)). Step one

of the test thus plainly favors Cornell.

       At step two, Plaintiffs contend that they seek a legal remedy in the form of an

order requiring Cornell to “make good to the Plans all losses … resulting from each

breach of fiduciary duty.” Pls. Resp.57 (quoting A185). But as shown below, the

Supreme Court has explained that such relief is an equitable rather than legal

remedy. Both prongs of the test therefore strongly support the conclusion that no

jury trial right exists.

I.     Pereira Is No Longer Good Law.
       The crux of Plaintiffs’ claimed right to a jury trial is simple: “Pereira

controls.” Pls. Resp.53. The problem with this assertion is also simple. The Supreme

Court has expressly rejected the legal basis for Pereira’s holding.



New York Univ., 9 F.4th 95, 117-18 (2d Cir. 2021).

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       As Cornell’s opening brief explained, Pereira v. Farace, 413 F.3d 330, 340

(2d Cir. 2005), was based on an extension of the Supreme Court’s decision in Great-

West Life & Annuity Insurance Co. v. Knudson, 534 U.S. 204 (2002). The defendants

in Pereira, unlike the defendants in Great-West, were fiduciaries. Despite this

distinction, the panel in Pereira extended Great-West’s holding to apply to cases

that “involve[d] only non-fiduciary defendants,” believing that this Court was

“compelled” to read Great-West “as broadly as it is written.” 413 F.3d at 340.

       In CIGNA Corp. v. Amara, the Supreme Court rejected precisely this

extension of Great-West, on which the ruling in Pereira depends. Amara recognized

that “traditionally speaking, relief that sought a lien or constructive trust was legal

relief, not equitable relief.” 563 U.S. at 439 (citing Great-West). But, the Court

continued, this “traditional” principle—which applied in Great-West because the

plaintiff sued a non-fiduciary beneficiary—did not apply in “a suit by a beneficiary

against a plan fiduciary.” Id. (emphasis added). For such suits, equity had

historically provided a broad remedy “in the form of monetary ‘compensation’ for a

loss resulting from a trustee’s breach of duty.” Id. at 441. Therefore, Amara

concluded, when ERISA plaintiffs seek a surcharge remedy to recover monetary

compensation for alleged breach of fiduciary duty by defendants, they are seeking

equitable, not legal, relief. Id. at 442.




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      In short, Amara explained, whether a defendant is a fiduciary “analogous to a

trustee” makes a “critical difference” in assessing whether a plaintiff’s request for

monetary relief should be characterized as legal or equitable. Id. (emphasis added).

Pereira had extended Great-West to suits against fiduciaries only by disregarding

that “critical difference,” and is therefore no longer good law for that point.

II.   Plaintiffs’ Distinction Between § 1132(a)(2) and (3) Is Unavailing.
      Plaintiffs ignore Amara’s substantive reasoning and contend that the case is

inapposite because it “involved claims under 29 U.S.C. § 1132(a)(3)” rather than (as

here) § 1132(a)(2). Pls. Resp.54-55. But that distinction is meaningless. The Seventh

Amendment inquiry turns on the “nature” of the remedy the plaintiff seeks.

Pls. Resp.53. Here, Plaintiffs seek an order that Cornell “make good to the Plans all

losses … resulting from each breach of fiduciary duty.” A185. And this Court has

unequivocally stated that a claim for “losses flowing from … breach of fiduciary

duty” is one for “true equitable relief.” N.Y. State Psychiatric Ass’n v. UnitedHealth

Grp., 798 F.3d 125, 134-35 (2d Cir. 2015) (citing Amara).

      In any event, there is nothing to the distinction Plaintiffs seek to draw between

§1132(a)(2) and (a)(3). Plaintiffs argue that § 1132(a)(2)—by way of § 1109(a)—

provides for both “equitable” and “remedial” relief for violations of fiduciary duty,

and therefore that the potential relief they might seek in this action is not “limited

solely to equitable relief.” Pls. Resp.55. As explained in CAPTRUST’s concurrently



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filed reply brief, which Cornell incorporates by reference, Plaintiffs’ assumption that

“remedial” relief means “legal” relief ignores the text and history of the statute. But

even assuming that § 1109(a) allows a plaintiff to seek equitable and non-equitable

relief (or both), this would do nothing to advance Plaintiffs’ claim.

       The question here is what kind of relief Plaintiffs actually seek, not the range

of relief the statute potentially authorizes. As just discussed, what Plaintiffs seek is

the equitable remedy of surcharge. See Moitoso v. FMR LLC, 410 F. Supp. 3d 320,

331 (D. Mass. 2019) (rejecting Plaintiffs’ argument because reading § 1109(a) “to

authorize surcharge would not eviscerate any relevant distinction between

‘equitable’ and ‘remedial’ relief”); Perez v. Silva, 185 F. Supp. 3d 698, 704 n.11 (D.

Md. 2016) (striking jury trial demand in § 1132(a)(2) case where court “would be

hard-pressed to characterize the Secretary’s requested relief as legal in light

of Amara’s discussion of surcharge”). The fact that § 1109(a) also allows a plaintiff

to seek “remedial” relief does not transform Plaintiffs’ request for equitable

surcharge into a non-equitable remedy.2




2
  Plaintiffs concede that, besides their “make whole” request, all of the relief they seek is
equitable in nature. Indeed, Plaintiffs’ request for equitable relief is one of bases on which
they challenge the district court’s summary judgment order. See Pls. Br.57 (“Plaintiffs seek
equitable relief”); Pls. Resp.47-48 (discussing “request for certain equitable remedies”).

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III.   Montanile Does Not Support Plaintiffs.
       Plaintiffs’ next argument (at Pls. Resp.56) is that Montanile v. Board of

Trustees of National Elevator Industry Health Benefit Plan, 577 U.S. 136 (2016),

silently overruled Amara’s discussion of equitable surcharge against a fiduciary,

restoring the law as it stood when this Court decided Pereira. A glance at the opinion

shows that Plaintiffs are wrong. Montanile merely, and unsurprisingly, rejected the

argument that Amara’s discussion of equitable surcharge should be extended to

cases against non-fiduciaries.

       The fact that Montanile, unlike Amara, involves non-fiduciary defendants is

obvious. The plaintiff in Montaile was “the plan fiduciary,” seeking “reimbursement

for medical expenses after the plan beneficiary or participant recovered money from

a third party.” 577 U.S. at 142. Predictably, all of the decisions Montanile discussed

in analyzing whether the fiduciary-plaintiff was seeking legal or equitable relief

likewise concerned claims against non-fiduciaries. See US Airways, Inc. v.

McCutchen, 569 U.S. 88 (2013); Sereboff v. Mid Atl. Med. Servs., Inc., 547 U.S. 356

(2006); Great-West, 534 U.S. 204; Mertens v. Hewitt Assocs., 508 U.S. 248 (1993).

As Montanile observed, Amara is perfectly consistent with this authority, for Amara

“reaffirmed” that “traditionally speaking”—i.e., outside of suits against a trustee for

breach of fiduciary duty—“relief that sought a lien or a constructive trust was legal

relief, not equitable relief, unless the funds in question were ‘particular funds or



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property in the defendant’s possession.’” Montanile, 577 U.S. at 148 n.3 (quoting

Amara, 563 U.S. at 439, in turn quoting Great-West, 534 U.S. at 213).

       Montanile’s brief discussion of Amara did not address equitable surcharge

remedies against a fiduciary—the relief at issue in Amara, and that Plaintiffs seek

here. Instead, Montanile rejected the respondent’s contention that Amara had “all

but overrul[ed]” Great-West and other non-fiduciary defendant cases. Montanile,

577 U.S. at 148 n.3 (explaining that “our interpretation of ‘equitable relief’” in cases

like Sereboff and Mertens “remains unchanged”). That was undoubtedly correct, but

just as Amara did not “overrule” cases governing the classification of remedies

against non-fiduciaries, Montanile did not undermine Amara’s classification of a

surcharge remedy as “traditional equitable relief” against fiduciary defendants.

Amara, 563 U.S. at 440. The Court simply had no occasion to address this question,

because the defendant in Montanile was a participant, whereas in Amara—as in this

case—the “critical difference” was that the defendant was a fiduciary, who is

“analogous to a trustee.” Id. at 442 (distinguishing Mertens on this basis).3


3
  Both the petitioners and the United States in Montanile recognized this distinction.
See Pet’rs Reply at 5, Montanile, 2015 WL 6502104 (Amara’s logic “was rooted directly
in the particular claim at issue: unlike the vast majority of equity cases, in fiduciary cases,
monetary damages may be recovered from a breaching fiduciary’s general assets because
of the specific equitable remedy of surcharge” and that rule “is exactly the opposite of the
traditional rules that apply in all non-fiduciary settings”); U.S. Br. at 20 n.5, Montanile,
2015 WL 4237676 (“This Court recently held that ERISA Section 502(a)(3) allows a suit
by a plan participant for an equitable surcharge against a plan fiduciary. . . . But nothing in
the statutory scheme itself imposes similar fiduciary obligations on plan participants.”).


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      That Montanile referred to Amara’s discussion of equitable relief as “not

essential to resolving that case,” 577 U.S. at 148 n.3, does not help Plaintiffs. As a

threshold matter, that characterization was itself dictum, for again, as the Court

recognized, there is no tension between Amara and the other cited decisions.

      Nevertheless, if Amara is dictum, then so too is Great-West. See Pereira, 413

F.3d at 346 (Newman, J., concurring) (concluding that Great-West is “dictum with

respect to an action against a fiduciary because the defendant in Great-West was not

a fiduciary”). And it makes no sense to treat Great-West’s dictum as controlling

outside the non-fiduciary-defendant context, but to disregard Amara’s unambiguous

statement (in a fiduciary-defendant case like this one) that the distinction between

fiduciaries and non-fiduciaries is “critical.” 563 U.S. at 442. That is particularly true

because, but for this Court’s misreading of Great-West in Pereira—an interpretation

the panel erroneously thought was “compelled” by the rationale of the Supreme

Court’s decision—the relief Plaintiffs seek clearly would have been considered

equitable under circuit law. See Cornell Br.64; Pereira, 413 F.3d at 339-40

(discussing prior circuit decision that characterized monetary relief against a

fiduciary as equitable even though defendant did not possess the funds in question).

      Whatever label is applied to Amara’s discussion of equitable surcharge relief,

then, this Court should follow it. See United States v. Harris, 838 F.3d 98, 107 (2d

Cir. 2016) (“[W]e are obligated ‘to accord great deference to Supreme Court dicta,’



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absent a change in the legal landscape.”). Indeed, courts have repeatedly rejected the

argument that Montanile abrogates Amara or converts equitable surcharge remedies

against fiduciaries into legal remedies requiring a jury trial. In Moitoso v. FMR LLC,

for instance, the court concluded that while Montanile demonstrated that “legal

remedies that an equity court could award when a nonfiduciary appears before it in

an ancillary matter are not equitable remedies,” the case “did not repudiate Amara’s

distinction,” which applies a different rule where the defendant is a fiduciary. 410

F. Supp. 3d at 328. In Pledger v. Reliance Trust Co., 2017 WL 11568409 (N.D. Ga.

Nov. 7, 2017), the court similarly held that Montanile did not disturb Amara’s

conclusion that “the fact that a fiduciary defendant ‘is analogous to a trustee’ makes

‘a critical difference’ in whether an award of make-whole relief is categorized as

legal or equitable.” Id. at *5. Numerous decisions are in accord. E.g., Tracey v. Mass.

Inst. of Tech., 395 F. Supp. 3d 150, 152-54 (D. Mass. 2019); Bell v. Pension Comm.

of Ath Holding Co., LLC, 2016 WL 4088737, at *2 (S.D. Ind. Aug. 1, 2016).

Although their own counsel brought several of these cases, Plaintiffs do not mention

these decisions, much less offer any reason to reject their rationales.

IV.   Former Plan Participants Do Not Have A Jury Trial Right.
      Plaintiffs’ fallback argument is equally meritless. Plaintiffs claim that certain

class members may have “closed Plan accounts that suffered losses during the class

period” and that these members would be entitled to a jury trial even if current



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participants are not. Pls. Resp.58-59. Plaintiffs offer no evidence that any such class

members exist, citing only a complaint allegation that a named plaintiff is retired.

A56. Regardless, Plaintiffs’ authority is inapposite, and their argument, if accepted,

would undercut Plaintiffs’ ability to bring this class action at all.

       A.     Plaintiffs Misinterpret The Restatement Of Trusts.
       The Restatement of Trusts provides that, “[e]xcept as stated in § 198, the

remedies of the beneficiary against the trustee are exclusively equitable.”

Restatement (Second) of Trusts § 197 (1959). Plaintiffs’ argument rests on one of

the narrow exceptions in § 198: That “[i]f the trustee is under a duty to pay money

immediately and unconditionally to the beneficiary, the beneficiary can maintain an

action at law against the trustee to enforce payment.” Id. § 198(1).4

       But Plaintiffs cannot identify any “immediate and unconditional” duty to pay

that would permit an action at law under § 198(1). First, Cornell is under no duty to

pay the class members anything until the court enters a finding of liability on

Plaintiffs’ claims. Absent such a finding, there is nothing for Plaintiffs to “enforce.”

       Second, the duty that underlies Plaintiffs’ claims in this case—Cornell’s

fiduciary duty to manage the Plans prudently—is inherently discretionary and

“context specific.” Fifth Third Bancorp v. Dudenhoeffer, 573 U.S. 409, 425 (2014).



4
  Plaintiffs do not claim that the other exception, which applies when a trustee has a duty
to transfer chattel, is relevant. See Restatement (Second) of Trusts § 198(2).

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That is far removed from an “immediate” and “unconditional” duty under § 198(1).

That exception does not apply where the applicable duty requires the trustee to

exercise discretion or judgment. Restatement § 198 cmt. c & illus. 5 (“A bequeaths

$100,000 to B in trust to pay to C or apply for C’s benefit so much of the income as

is necessary for C’s support. C cannot maintain an action at law against B.”).

      Plaintiffs respond that class members “who are now retired” may have an

immediate and unconditional right to payment because they “would be entitled to a

share of any monetary recovery” in this case. Pls. Resp.58. Plaintiffs’ argument

conflates a fiduciary’s duty to make immediate and unconditional payment under

the terms of the trust (or plan document) with the duty to make payment to plaintiffs

if a court finds breach of a discretionary duty. As just noted, § 198(1)’s exception is

triggered by the former, not the latter. If a possible entitlement to monetary recovery

were enough to create a jury trial right, then the narrow exception in § 198(1) would

swallow § 197’s broad rule.

      Even in Pereira, where the court had already entered judgment against the

defendants for specific amounts, 413 F.3d at 336, Judge Newman thought it self-

evident that the exception in § 198(1) was “inapplicable.” Id. at 344. As his

concurrence explained, “the remedy at law for payment of a sum of money

immediately and unconditionally due the beneficiary applies to money in the hands

of the trustee that is being wrongfully withheld. An example is money to be paid to



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a trust beneficiary upon reaching a specified age. See Restatement (Second) Trusts,

§ 198, illustration 1.” Id. “Apart from this exception,” however, “it is black letter

law that the beneficiary has an equitable remedy to compel the trustee to redress a

breach of trust.” Id.

      B.     Plaintiffs Misinterpret And Misapply Dixon.
      The single pre-ERISA case Plaintiffs cite for their interpretation of § 198(1)

is unavailing. In Dixon v. Northwest National Bank of Minneapolis, .” 297 F. Supp.

485 (D. Minn. 1969), the defendant was “alleged to have been under a duty to pay

the various plaintiffs rather immediately and quite unconditionally upon termination

of employment a sum certain, either in cash or stock, according to their proportional

participation in the profit-sharing trust fund.” Id. at 488. The court found that this

duty, expressly set out in the “terms of the trust instrument,” id. at 487, created an

immediate and unconditional obligation sufficient to permit an action at law under

§ 198(1). As noted above, Plaintiffs point to no similar immediate and unconditional

obligation that Cornell incurred under the Plans.

      It is not clear why Plaintiffs think Dixon and § 198(1) apply only to “former-

participant class members.” Pls. Resp.58. The Dixon court discussed the plaintiffs’

employment status because the trust terms provided for profit sharing upon an

employee’s termination. But nothing in the opinion suggested that the fact that the

plaintiffs terminated their employment held any other legal significance.



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      To the extent Plaintiffs read Dixon to allow an action at law whenever a claim

may result in a “monetary judgment” that must be paid to the plaintiff (Pls. Resp.58),

that broad reading is clearly wrong—and courts have resoundingly rejected it. As

one court explained, the word “unconditionally” in § 198 “was intended to mean

without the intervention of equity.” Nobile v. Pension Comm. of Pension Plan for

Employers of New Rochelle Hosp., 611 F. Supp. 725, 729 (S.D.N.Y. 1985).

Therefore, the exception does not apply when a plaintiff “presents the traditionally

equitable question of whether or not the alleged ‘common law trustee’ breached its

fiduciary duty,” because “[u]nless and until that equitable question is resolved in

plaintiffs’ favor, the alleged trustee is under no duty to make any payment

whatsoever.” Id. Insofar as Dixon stands for a contrary proposition, it “misread[s]

the cited Restatement section” and its conclusion is “unsound.” Id.

      Many other courts agree, holding that § 198(1) applies where the alleged

violation consists of a failure to perform a ministerial act, not merely where a

plaintiff claims an entitlement to money damages. See, e.g., Jo Ann Howard &

Assocs., P.C. v. Cassity, 868 F.3d 637, 648 (8th Cir. 2016) (following Nobile);

Moitoso, 410 F. Supp. 3d at 326-27 (following Nobile and rejecting Dixon);

Vartanian v. Monsanto Co., 880 F. Supp. 63, 72 (D. Mass. 1995) (“[C]ourts have

uniformly found that ‘entitlement to benefits due immediately and unconditionally’

applies only to straightforward breach of contract claims.… In this instance, a



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complicated claim for breach of a trustee’s fiduciary duty—most certainly an

equitable claim—is at the bottom of both plaintiffs’ claims.”). These decisions

foreclose Plaintiffs’ attempt to radically expand § 198(1).

      C.     Plaintiffs’ Argument Would Require Decertification.
      One final point is that, even if Plaintiffs were correct that “former

participants” were entitled to a jury trial—and they are not—that would not mean

that a court could “extend” that right “to the entire class,” as Plaintiffs (without any

citation to legal authority) now claim. Pls. Resp.58-59.

      Allowing Plaintiffs to try this case to a jury based on the purported rights of a

small subset of absent class members would raise grave concerns about Plaintiffs’

typicality and adequacy as class representatives. It would also violate the Rules

Enabling Act, which provides that the Federal Rules shall not “enlarge or modify

any substantive right.” 28 U.S.C. § 2072(b); see In re Ben Cooper, Inc., 896 F.2d

1394, 1403 (2d Cir. 1990) (explaining that Bankruptcy Rule 9015 “was withdrawn

in 1987 because bankruptcy courts were relying on it for substantive support for their

right to conduct [jury] trials”); In re Baker & Getty Fin. Servs., Inc., 954 F.2d 1169,

1173 (6th Cir. 1992) (same); Rachal v. Ingram Corp., 795 F.2d 1210, 1214 (5th Cir.

1986) (“the Federal Rules should not be interpreted to expand the right to jury trial

beyond constitutional or statutory grants”). As this Court has recognized, in applying

Rule 23 federal courts are “bound” by the Rules Enabling Act, which “underscores



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the need for caution” and “counsel[s] against adventurous application of the Rule.”

Police & Fire Ret. Sys. of City of Detroit v. IndyMac MBS, Inc., 721 F.3d 95, 109

(2d Cir. 2013) (internal quotation marks and alterations omitted).

      In sum, even accepting the premise of Plaintiffs’ argument arguendo, all

Plaintiffs have shown is that they cannot serve as class representatives and that the

class must be decertified. But the point is academic because Plaintiffs’ premise fails.

As shown above, no participants in the Plans, current or former, are entitled to a jury

trial on claims that Cornell breached its fiduciary duties under ERISA.

                                   CONCLUSION
      The Court should affirm the judgment of the district court. If the Court

reverses and remands, however, the Court should reverse the district court’s denial

of Cornell’s motion to strike the jury demand. The district court denied Cornell’s

motion only because it thought itself bound by Pereira, which is no longer good law.

In the event this case proceeds to trial, therefore, this Court should make clear that

Pereira is not binding, that ERISA plaintiffs are not entitled to a jury trial in suits

against a fiduciary for breach of fiduciary duty, and that Plaintiffs here are not

entitled to a jury trial on any surviving claims.




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Dated: October 18, 2021                       Respectfully submitted

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